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                                       24-960                      To Be Argued By:
                                                                   MEREDITH C. FOSTER


                               United States Court of Appeals
                                          FOR THE SECOND CIRCUIT
                                              Docket No. 24-960


                                         UNITED STATES OF AMERICA,
                                                                                 Appellee,
                                                      —v.—

                           CHINWENDU ALISIGWE, also known as Sealed Defendant 1,
                                                                    Defendant-Appellant.

                              ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF NEW YORK



                              BRIEF FOR THE UNITED STATES OF AMERICA


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                                United States Court of Appeals
                                         FOR THE SECOND CIRCUIT
                                             Docket No. 24-960



                                         UNITED STATES OF AMERICA,
                                                                         Appellee,
                                                    —v.—

                                    CHINWENDU ALISIGWE, also known as
                                          Sealed Defendant 1,
                                                             Defendant-Appellant.


                               BRIEF FOR THE UNITED STATES OF AMERICA




                                           Preliminary Statement
                                Chinwendu Alisigwe appeals from a judgment of
                            conviction entered on April 8, 2024, in the United
                            States District Court for the Southern District of New
                            York, following a jury trial before the Honorable Va-
                            lerie E. Caproni, United States District Judge.
                                Superseding Indictment S1 22 Cr. 425 (VEC) (the
                            “Indictment”) was filed on August 17, 2023, in four
                            counts. Count One charged Alisigwe with conspiracy
                            to commit bank fraud, in violation of 18 U.S.C. § 1349.
                            Count Two charged Alisigwe with bank fraud, in vio-
                            lation of 18 U.S.C. §§ 1344 and 2. Count Three charged
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                            Alisigwe with aggravated identity theft, in violation of
                            18 U.S.C. §§ 1028A(a)(1), 1028A(b), and 2. Count Four
                            charged Alisigwe with conspiracy to commit money
                            laundering, in violation of 18 U.S.C. § 1956(h).
                               Trial commenced on December 11, 2023, and ended
                            on December 14, 2023, when Alisigwe was convicted
                            on Counts One, Two, and Four, and acquitted on Count
                            Three.
                                On April 8, 2024, Judge Caproni sentenced
                            Alisigwe principally to five years’ imprisonment, to be
                            followed by five years’ supervised release.
                               Alisigwe is serving his sentence.

                                              Statement of Facts

                            A. The Government’s Case
                               The Government’s proof at trial, the sufficiency of
                            which is not challenged on appeal, established that
                            Alisigwe participated in a wide-ranging bank fraud
                            and money laundering conspiracy. Specifically, from
                            2017 through 2020, Alisigwe used fake identifications
                            —including fraudulent passports and other identifica-
                            tion documents—to open thirty-six bank accounts at
                            various financial institutions (the “Alisigwe Ac-
                            counts”). (PSR ¶ 10; Tr. 216-19). 1 The Alisigwe
                            —————
                                1  “PSR” or “Presentence Report” refers to the
                            Presentence Investigation Report prepared by the
                            United States Probation Office (the “Probation Office”)
                            in connection with Alisigwe’s sentencing; “Tr.” refers
                            to the trial transcript; “GX” refers to a Government ex-
                            hibit at trial; “Br.” refers to Alisigwe’s brief on appeal;
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                            Accounts were opened in the names and social security
                            numbers of real people who did not know that their
                            identities were being used. (PSR ¶ 10; Tr. 219-20, 371-
                            73). After Alisigwe opened these accounts, millions of
                            dollars from a variety of fraud schemes, including busi-
                            ness email compromise schemes, were deposited into
                            the accounts. (PSR ¶ 11).
                               For example, in approximately July 2018, a co-con-
                            spirator of Alisigwe impersonated the executive of a
                            children’s charity (Wheelchairs 4 Kids) via email,
                            causing the charity’s bank to send a $48,000 check to
                            one of the Alisigwe Accounts. (PSR ¶ 11; Tr. 25-37,
                            276). As another example, in April 2019, a co-conspira-
                            tor impersonated a victim over email and instructed
                            the victim’s bank to send a wire of more than $680,000
                            to another one of the Alisigwe Accounts. (PSR ¶ 11;
                            Tr. 63-76, 254).
                               Surveillance footage from the banks showed
                            Alisigwe controlling the Alisigwe Accounts, including
                            by opening them, depositing checks into them, with-
                            drawing money from them, and making wire transac-
                            tions using them. (PSR ¶ 12; Tr. 214, 245-50). After
                            the fraud proceeds were deposited into the Alisigwe
                            —————
                            “A.” refers to the appendix filed with that brief; “Amici
                            Br.” refers to the brief of Amici Curiae The Knight
                            First Amendment Institute at Columbia University
                            and Reporters Committee for Freedom of the Press;
                            and “Dkt.” refers to an entry on the District Court’s
                            docket for this case. Unless otherwise noted, case text
                            quotations omit internal quotation marks, citations,
                            and previous alterations.
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                            Accounts, Alisigwe engaged in a series of transactions
                            designed to disguise the nature of the fraud proceeds.
                            (PSR ¶ 12). Specifically, he transferred large sums of
                            victim money from account to account that he had
                            opened in other people’s names. (PSR ¶ 12; Tr. 242-
                            45). He also withdrew over $600,000 in fraud proceeds
                            in cash. (PSR ¶ 12; Tr. 229). After disguising the na-
                            ture of the fraud proceeds, Alisigwe wired portions of
                            the stolen funds to bank accounts in foreign countries,
                            including China and the United Kingdom. (PSR ¶ 12;
                            Tr. 233). Alisigwe also took a cut of the stolen funds for
                            himself and spent approximately $100,000 of victim
                            money on purchases at stores like Zara, Nordstrom,
                            Macy’s, and Best Buy. (PSR ¶ 12; Tr. 230-32, 288).
                                When Alisigwe was arrested, a law enforcement of-
                            ficer found (in plain view) four passports bearing
                            Alisigwe’s photograph and other people’s names, along
                            with four corresponding driver’s licenses. (PSR ¶ 14;
                            Tr. 415). In addition, over the course of the investiga-
                            tion, over twenty passports and other identification
                            documents bearing Alisigwe’s photograph and other
                            people’s names were seized from international mail.
                            (PSR ¶ 14; A. 276-80). Several of these packages were
                            sent from Lagos, Nigeria. (PSR ¶ 14; A. 276-80).
                               Contents from Alisigwe’s phone showed that
                            Alisigwe was an active participant in the fraud
                            scheme. (PSR ¶ 12; Tr. 424-32; GX 301-09). For exam-
                            ple, Alisigwe sent several text messages to an individ-
                            ual saved in his phone as “Agbogidi” to inquire if any
                            mail related to the Alisigwe Accounts had arrived at
                            Agbogidi’s residence. (PSR ¶ 12; Tr. 424-30). In one
                            text message, Alisigwe referenced the name of a victim
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                            whose identity was used to open one of the Alisigwe
                            Accounts (“Victim-1”) and asked Agbogidi if there was
                            “Anything for [Victim-1]??” (Tr. 226, 427; A. 258-59).
                            Text messages also showed that Agbogidi lived at a
                            specific address in Brooklyn—the same address that
                            was listed as the home address on approximately 23 of
                            the 36 Alisigwe Accounts. (Tr. 225-26, 429). In addi-
                            tion, the photo gallery of Alisigwe’s phone contained
                            numerous images of messages containing names,
                            birthdates, social security numbers, and addresses
                            matching those used to open the Alisigwe Accounts.
                            (A. 248-59).

                            B. The Defense Case and Verdict
                               Alisigwe did not present a defense case. (See
                            Tr. 482-83). On December 14, 2023, the jury returned
                            a verdict finding Alisigwe guilty of Counts One, Two,
                            and Four, and not guilty of Count Three. (Tr. 601).

                            C.   The Sentencing
                               In advance of Alisigwe’s sentencing, the Probation
                            Office prepared the Presentence Report. The Presen-
                            tence Report concluded that Alisigwe’s total offense
                            level under the United States Sentencing Guidelines
                            (“U.S.S.G.” or the “Guidelines”) was 33, based on a
                            base offense level of 7 under U.S.S.G. § 2B1.1(a)(1); an
                            18-level increase under U.S.S.G. § 2B1.1(b)(1)(J) be-
                            cause the offense involved intended loss of at least $3.5
                            million; a 2-level increase under U.S.S.G.
                            § 2B1.1(b)(2)(A) because the offense involved at least
                            10 victims; a 2-level increase under U.S.S.G.
                            § 2B1.1(b)(10)(B) because a substantial part of the
                            fraudulent scheme was committed outside the United
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                            States and otherwise involved sophisticated means; a
                            2-level increase under U.S.S.G. § 2B1.1(b)(11)(ii) be-
                            cause Alisigwe possessed names and social security
                            numbers of others; and a 2-level increase under
                            U.S.S.G. § 3C1.1 because Alisigwe (i) testified falsely
                            at a pretrial duress hearing and (ii) submitted a mate-
                            rially false declaration in support of a pretrial motion
                            to suppress passports seized at the time of his arrest.
                            (PSR ¶¶ 25-36). The Presentence Report’s loss calcula-
                            tion relied on the intended loss amount of $4.5 million.
                            (PSR ¶ 18).
                                Based on the total offense level of 33 and Alisigwe’s
                            Criminal History Category of I, the Presentence Re-
                            port calculated a Guidelines range of 135 to 168
                            months’ imprisonment. (PSR at 28). Alisigwe’s counsel
                            objected to the Presentence Report’s Guidelines calcu-
                            lation, including, as relevant here, to the use of in-
                            tended (as opposed to actual) loss and to the applica-
                            tion of the obstruction-of-justice enhancement. (PSR at
                            25).
                                Alisigwe was sentenced on April 8, 2024. Judge
                            Caproni began the sentencing hearing by addressing
                            Alisigwe’s objections to the Guidelines calculation in
                            the Presentence Report. (A. 421). First, Judge Caproni
                            applied the intended loss amount under U.S.S.G.
                            § 2B1.1(b)(1), concluding that “the Second Circuit law”
                            permitting the use of intended loss “is clear.” (A. 421-
                            22). Second, Judge Caproni found that, even putting
                            aside the declaration submitted in connection with the
                            suppression hearing, the obstruction enhancement ap-
                            plied based on Alisigwe’s testimony at his duress hear-
                            ing. (A. 429-30). Judge Caproni clarified, however,
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                            that she would “impose the same sentence in this case”
                            regardless of whether she applied the obstruction en-
                            hancement. (A. 430).
                                After determining the applicable Guidelines range
                            and giving all parties a chance to address the court,
                            Judge Caproni sentenced Alisigwe to a below-Guide-
                            lines sentence of five years’ imprisonment. (A. 452).


                                              ARGUMENT

                                                   POINT I

                              The District Court Properly Denied Alisigwe’s
                              Motion to Suppress Evidence Obtained from
                                   Border Searches of his Cellphones
                                Alisigwe argues that Judge Caproni erred in deny-
                            ing his motion to suppress evidence obtained from bor-
                            der searches of his cellphones. (Br. 30-51). This argu-
                            ment is meritless. As every circuit to have considered
                            the question has concluded, a warrant is not required
                            to search a cellphone at the border. Moreover, as nu-
                            merous Courts of Appeals have held, the type of man-
                            ual cellphone search conducted here is a “routine” bor-
                            der search that does not require reasonable suspicion.
                            And even if this Court were to depart from the prevail-
                            ing consensus and conclude that a manual cellphone
                            search is a “non-routine” border search, law enforce-
                            ment had reasonable suspicion to justify the searches
                            of Alisigwe’s phones. In any event, even if the Court
                            were to conclude that the manual reviews of Alisigwe’s
                            cellphones were unlawful, the Court should affirm un-
                            der the good-faith exception to the exclusionary rule.
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                            A. Relevant Facts
                                In late 2018, the Department of Homeland Security
                            (“DHS”) received information from the United King-
                            dom Border Force that Alisigwe was using a false iden-
                            tity. (A. 47). Specifically, the U.K. Border Force had in-
                            tercepted and seized a fraudulent South African pass-
                            port with a U.S. nonimmigrant visa in the name of Wil-
                            helm Heintz. (A. 47). Facial recognition software indi-
                            cated that the photograph on the passport was of
                            Alisigwe, not of Wilhelm Heintz. (A. 47). Alisigwe, a le-
                            gal permanent resident of the United States, had pre-
                            viously filed a naturalization application seeking U.S.
                            citizenship with U.S. Citizenship and Immigration
                            Services (“USCIS”), a component of DHS. (A. 47). As a
                            result, the New York Document and Benefit Fraud
                            Task Force of Homeland Security Investigations
                            (“HSI”)—which is also a component of DHS—opened a
                            criminal investigation in conjunction with USCIS, the
                            HSI Attaché in London, and the Department of Jus-
                            tice. (A. 47).
                                On February 7, 2019, Alisigwe landed at John F.
                            Kennedy International Airport (“JFK Airport”) after
                            traveling from Lagos, Nigeria, through London.
                            (A. 48). In connection with the investigation of
                            Alisigwe’s use of a false identity, officers from HSI and
                            U.S. Customs and Border Protection (“CBP”) (yet an-
                            other DHS component) stopped and interviewed
                            Alisigwe upon his arrival at JFK Airport. (A. 48). The
                            HSI agents asked Alisigwe about his travel to Nigeria,
                            his family, his employment in the United States, and
                            the property he owned in the United States. (A. 48).
                            The agents also asked Alisigwe if he ever used
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                            passports from other countries or in other names,
                            which Alisigwe denied. (A. 48). The agents showed
                            Alisigwe the photograph from the Heintz passport,
                            which Alisigwe acknowledged looked like him. (A. 48).
                                During the interview, HSI Special Agent Kyle Tal-
                            lio reviewed and photographed Alisigwe’s personal ef-
                            fects, including Alisigwe’s cellphone. Special Agent
                            Tallio took photographs of, among other things,
                            Alisigwe’s identification card and images contained in
                            the photo gallery of Alisigwe’s cellphone. (A. 249-58).
                            Alisigwe’s photo gallery included images of other peo-
                            ple’s names, birthdates, and social security numbers,
                            as well as bank account information and addresses.
                            (A. 249-58). Special Agent Tallio did not obtain a full
                            extraction of Alisigwe’s cellphone; rather, he manually
                            reviewed the phone by simply scrolling through it and
                            taking pictures of it. (A. 264). The interview of
                            Alisigwe lasted less than an hour. (A. 47). Many of the
                            personal identifiers observed by Special Agent Tallio
                            in Alisigwe’s photo gallery matched information used
                            by Alisigwe to open the Alisigwe Accounts. (A. 249-58,
                            310).
                               Similarly, on March 1, 2021, Alisigwe arrived at
                            JFK Airport after traveling internationally and was
                            stopped by CBP and HSI agents in connection with
                            their ongoing investigation. (A. 247, 273-75). The
                            agents, including Special Agent Tallio, interviewed
                            Alisigwe about the purpose of his travel and reviewed
                            his personal effects, including his cellphone. (A. 50-
                            51). Special Agent Tallio again manually reviewed
                            Alisigwe’s cellphone by scrolling through it and taking
                            photographs, rather than obtaining a full extraction of
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                            the phone. (A. 273-75). At this time, Special Agent Tal-
                            lio took a photograph of a WhatsApp message in which
                            Alisigwe asked a co-conspirator whether there was
                            “[a]nything for” Victim-1, one of the people whose iden-
                            tities Alisigwe had used to open the Alisigwe Accounts.
                            (A. 259).
                                On January 6, 2023, Alisigwe moved to suppress
                            his statements and the photographs of his cellphone
                            obtained by law enforcement during the border inter-
                            views on February 7, 2019 and March 1, 2021. (A. 32-
                            51). The Government filed its response on August 4,
                            2023, opposing Alisigwe’s motion to suppress the cell-
                            phone evidence but indicating that it did not intend to
                            offer at trial the challenged statements. (Dkt. 57 at 6).
                            Alisigwe filed a reply on October 13, 2023. (A. 197).
                                On November 30, 2023, Judge Caproni issued an
                            opinion and order denying Alisigwe’s motion to sup-
                            press the cellphone evidence obtained during the bor-
                            der interviews. (A. 228-46). 2 Judge Caproni concluded
                            that although the manual search of Alisigwe’s phone
                            was “nonroutine,” the law enforcement agents who
                            searched the phone had reasonable suspicion to do so.
                            (A. 234-38). Judge Caproni rejected Alisigwe’s argu-
                            ment that the Supreme Court’s decision in Riley v. Cal-
                            ifornia, 573 U.S. 373 (2014) requires a warrant to con-
                            duct a border search of a cellphone, observing that
                            —————
                               2  Given the Government’s representation that it
                            did not intend to introduce at trial statements ob-
                            tained during the border interviews, Judge Caproni
                            denied as moot Alisigwe’s motion to suppress those
                            statements. (A. 228 n.1).
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                            Riley did not impose a categorical warrant require-
                            ment on all cellphone searches, and “did not upend
                            long-settled precedent” regarding the Government’s
                            authority to conduct warrantless searches at the bor-
                            der. (A. 235-36). Judge Caproni further held that even
                            if that conclusion were incorrect, the good-faith excep-
                            tion to the exclusionary rule would apply, because nei-
                            ther the Supreme Court nor the Second Circuit had ad-
                            dressed the lawfulness of warrantless cellphone
                            searches at the border, and those circuits that had ad-
                            dressed the question had rejected the position that a
                            warrant is required. (A. 238-40).

                            B. Applicable Law
                               In evaluating the denial of a motion to suppress ev-
                            idence, this Court reviews a district court’s factual
                            findings for clear error and its conclusions of law de
                            novo. United States v. Levy, 803 F.3d 120, 122 (2d Cir.
                            2015).

                              1. The Border Search Exception
                               The Fourth Amendment protects “[t]he right of the
                            people to be secure in their persons, houses, papers,
                            and effects, against unreasonable searches and sei-
                            zures.” U.S. Const. amend. IV. Warrantless searches
                            are per se unreasonable unless an exception applies.
                            See Cady v. Dombrowski, 413 U.S. 433, 439 (1973).
                            One such exception is a border search, which, “from
                            before the adoption of the Fourth Amendment, ha[s]
                            been considered ‘reasonable’ by the single fact that the
                            person or item in question had entered our country
                            from outside.” United States v. Ramsey, 431 U.S. 606,
                            619 (1977). An airport is the functional equivalent of a
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                            border and thus a search in an airport falls within the
                            scope of the border search authority. See United States
                            v. Irving, 452 F.3d 110, 123 (2d Cir. 2006).
                                The border search exception is a “longstanding, his-
                            torically recognized exception to the Fourth Amend-
                            ment’s general principle that a warrant be obtained”
                            for a search. Ramsey, 431 U.S. at 621. The Govern-
                            ment’s authority to search persons and effects at the
                            border is rooted in “the long-standing right of the sov-
                            ereign to protect itself by stopping and examining per-
                            sons and property crossing into this country.” Id. at
                            616; see also id. at 619 (“Historically such broad pow-
                            ers have been necessary to prevent smuggling and to
                            prevent prohibited articles from entry.”). This princi-
                            ple reflects that “[t]he Government’s interest in pre-
                            venting the entry of unwanted persons and effects is
                            at its zenith at the international border.” United States
                            v. Flores-Montano, 541 U.S. 149, 152 (2004). In addi-
                            tion, “[t]he expectation of privacy [is] less at the border
                            than in the interior.” United States v. Montoya de Her-
                            nandez, 473 U.S. 531, 539 (1985). Consequently, the
                            “Fourth Amendment balance between the interests of
                            the Government and the privacy right of the individual
                            is struck much more favorably to the Government at
                            the border.” Id. at 540.
                               Under the border search exception, routine
                            searches of an incoming traveler’s person and belong-
                            ings are “not subject to any requirement of reasonable
                            suspicion, probable cause, or warrant.” Montoya de
                            Hernandez, 473 U.S. at 538. Indeed, border searches
                            ordinarily “are reasonable simply by virtue of the fact
                            that they occur at the border.” Flores-Montano, 541
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                            U.S. at 152–53 (citing Ramsey, 431 U.S. at 616); see
                            also Levy, 803 F.3d at 122 (“When the evidence at issue
                            derives from a border search, we recognize the Federal
                            Government’s broad plenary powers to conduct so-
                            called ‘routine’ searches at the border even without
                            ‘reasonable suspicion that the prospective entrant has
                            committed a crime.’ ”). “Routine searches include those
                            searches of outer clothing, luggage, a purse, wallet,
                            pockets, or shoes which, unlike strip searches, do not
                            substantially infringe on a traveler’s privacy rights.”
                            Irving, 452 F.3d at 123.
                                This Court has further explained that, even for
                            non-routine border searches, no warrant is required.
                            Rather, a non-routine border search is valid “if it is
                            supported by reasonable suspicion.” Irving, 452 F.3d
                            at 124; see also United States v. Asbury, 586 F.2d 973,
                            977 (2d Cir. 1978) (affirming validity of warrantless
                            border strip search). The reasonable suspicion stand-
                            ard requires “considerably less than proof of wrongdo-
                            ing by a preponderance of the evidence”; indeed, it re-
                            quires only “a particularized and objective basis for
                            suspecting the particular person stopped of criminal
                            activity.” Levy, 803 F.3d at 123 (citing Navarette v.
                            California, 572 U.S. 393, 396-97 (2014)). Reasonable
                            suspicion is measured in light of the “totality of the cir-
                            cumstances—the whole picture,” Navarette, 572 U.S.
                            at 397, and the “actual motivations of the individual
                            officers involved . . . play no role in [the] Fourth
                            Amendment analysis,” Whren v. United States, 517
                            U.S. 806, 813 (1996).
                               This Court has further held that when conducting
                            border searches, law enforcement agents are “neither
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                            expected nor required to ignore tangible or documen-
                            tary evidence of a federal crime,” and have “the author-
                            ity to search and review a traveler’s documents and
                            other items at the border when they reasonably sus-
                            pect the traveler is engaged in criminal activity, even
                            if the crime falls outside the primary scope of their of-
                            ficial duties.” Levy, 803 F.3d at 120 (holding that bor-
                            der search of notebook was permissible where CBP
                            had reasonable suspicion that traveler “was engaged
                            in a financial crime”); see also Irving, 452 F.3d at 123
                            (the validity of a border search “does not depend on
                            whether it is prompted by a criminal investigative mo-
                            tive”).
                                This Court has not yet addressed whether a man-
                            ual search of a cellphone—such as the one at issue here
                            —constitutes a routine or non-routine border search.
                            But the “consensus” among the Courts of Appeals is
                            that “brief, manual searches of a traveler’s electronic
                            device” are routine border searches requiring no indi-
                            vidualized suspicion at all. United States v. Mendez,
                            103 F.4th 1303, 1307 (7th Cir. 2024); see also United
                            States v. Castillo, 70 F.4th 894, 897–98 (5th Cir. 2023)
                            (holding that for “manual cell phone searches at the
                            border,” the circuits “have uniformly held” that no
                            warrant or reasonable suspicion is required); Alasaad
                            v. Mayorkas, 988 F.3d 8, 17 (1st Cir. 2021) (“[B]asic
                            border searches [of electronic devices] are routine
                            searches and need not be supported by reasonable sus-
                            picion.”); United States v. Cano, 934 F.3d 1002, 1016,
                            1018 (9th Cir. 2019) (“[M]anual searches of cell phones
                            at the border are reasonable without individualized
                            suspicion.”); United States v. Touset, 890 F.3d 1227,
                            1233 (11th Cir. 2018) (holding that even a forensic
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                            search of an electronic device at the border requires no
                            individualized suspicion).
                                Routine or otherwise, searches at the border
                            “never” require a warrant or probable cause. Ramsey,
                            431 U.S. at 619 (“There has never been any additional
                            requirement that the reasonableness of a border
                            search depended on the existence of probable cause.”).
                            “At most, border searches require reasonable suspi-
                            cion.” Mendez, 103 F.4th at 1307. Indeed, every circuit
                            to have addressed the question has concluded that,
                            notwithstanding the Supreme Court’s decision in Ri-
                            ley, which held that a warrant is required to search a
                            cellphone incident to a domestic arrest, see 573 U.S. at
                            385-403, a warrant is not required for the search of a
                            cellphone at the border. See Alasaad, 988 F.3d at 16-
                            17 (1st Cir. 2021) (“Riley does not command a warrant
                            requirement for border searches of electronic devices,
                            nor does the logic behind Riley compel us to impose
                            one”); United States v. Kolsuz, 890 F.3d 133, 142 (4th
                            Cir. 2018) (rejecting argument that Riley required
                            warrant based on probable cause for border search of
                            cellphone); United States v. Molina-Isidoro, 884 F.3d
                            287, 291 (5th Cir. 2018) (“For border searches both
                            routine and not, no case has required a warrant. . . . [I]t
                            is telling that no post-Riley decision issued either be-
                            fore or after this search has required a warrant for a
                            border search of an electronic device.”); Mendez, 103
                            F.4th at 1309 (7th Cir. 2024) (“No circuit court has
                            read Riley to require more than reasonable suspicion
                            to support even the most intrusive electronics search
                            at the border.”); United States v. Xiang, 67 F.4th 895,
                            900 (8th Cir. 2023) (“[In Alasaad,] [t]he First Circuit
                            carefully explained why Xiang’s broad argument ‘rests
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                            on a misapprehension of the applicability’ of Ri-
                            ley. . . .We agree.”); Cano, 934 F.3d at 1015 (9th Cir.
                            2019) (“[P]ost-Riley, no court has required more than
                            reasonable suspicion to justify even an intrusive bor-
                            der search,” and “[e]very circuit that has faced this
                            question has agreed that Riley does not mandate a
                            warrant requirement for border searches of electronic
                            devices, whether basic or advanced.”); United States v.
                            Vergara, 884 F.3d 1309, 1312-13 (11th Cir. 2018)
                            (“Border searches have long been excepted from war-
                            rant and probable cause requirements, and the hold-
                            ing of Riley does not change this rule.”).

                               2. The Good Faith Exception
                               Even where evidence is obtained in violation of
                            Fourth Amendment rights, “[a] violation of the Fourth
                            Amendment does not necessarily result in the applica-
                            tion of the exclusionary rule.” United States v. Rosa,
                            626 F.3d 56, 64 (2d Cir. 2010); see also United States v.
                            Leon, 468 U.S. 897, 906 (1984) (“Whether the exclu-
                            sionary sanction is appropriately imposed in a partic-
                            ular case, our decisions make clear, is an issue sepa-
                            rate from the question whether the Fourth Amend-
                            ment rights of the party seeking to invoke the rule
                            were violated by police conduct.”). The exclusionary
                            rule’s “corrective value justifies its cost when the police
                            exhibit deliberate, reckless, or grossly negligent disre-
                            gard for Fourth Amendment rights.” United States v.
                            Raymonda, 780 F.3d 105, 117-18 (2d Cir. 2015).
                                With those remedial purposes in mind, the good-
                            faith exception to the exclusionary rule asks “whether
                            a reasonably well-trained officer would have known
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                            that the search was illegal in light of all of the circum-
                            stances.” Herring v. United States, 555 U.S. 135, 145
                            (2009). “[W]hen the Government acts with an objec-
                            tively reasonable good-faith belief that their conduct is
                            lawful, the exclusionary rule does not apply.” United
                            States v. Zodhiates, 901 F.3d 137, 143 (2d Cir. 2018);
                            see Leon, 468 U.S. at 922 n.23 (explaining that the
                            good-faith exception is an objective test requiring re-
                            viewing courts to evaluate “the objectively ascertaina-
                            ble question whether a reasonably well trained officer
                            would have known that the search was illegal . . . .”).

                            C.    Discussion

                                 1. The Border Searches of Alisigwe’s Phones
                                    Did Not Violate the Fourth Amendment

                                    a.    A Warrant Was Not Required to
                                          Search Alisigwe’s Phones
                                Alisigwe asserts that following the Supreme
                            Court’s decision in Riley, the border search exception
                            no longer justifies a warrantless search of a cellphone
                            at the border. (Br. 32-46). Every circuit to have consid-
                            ered the question has disagreed. See, e.g., Alasaad, 988
                            F.3d at 16-17 (1st Cir. 2021); Kolsuz, 890 F.3d at 142
                            (4th Cir. 2018); Castillo, 70 F.4th at 897–98 (5th Cir.
                            2023); Mendez, 103 F.4th at 1309 (7th Cir. 2024);
                            Xiang, 67 F.4th at 900 (8th Cir. 2023); Cano, 934 F.3d
                            at 1015 (9th Cir. 2019); Vergara, 884 F.3d at 1312-13
                            (11th Cir. 2018).
                                The Courts of Appeals’ uniform rejection of
                            Alisigwe’s position is well-founded. Neither Riley nor
                            its logic compel the conclusion that a warrant is
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                            required for searches of electronic devices at the bor-
                            der. Riley addressed a warrantless search of a cell-
                            phone under a different exception to the warrant re-
                            quirement: a search incident to arrest. See Riley, 573
                            U.S. at 385-403. It reasoned that an individual’s pri-
                            vacy interest in their cellphone is heightened in light
                            of the vast quantity of data that may be stored on such
                            devices, and that the Government’s interest in search-
                            ing an arrestee’s cellphone following an arrest is lim-
                            ited, as such searches do not meaningfully advance the
                            purposes of the search-incident-to-arrest exception:
                            protecting officers and preventing the destruction of
                            evidence. Id.
                                But the purposes of a border search, and the at-
                            tending governmental and privacy interests at the bor-
                            der, are different than those implicated during a do-
                            mestic arrest. The border search exception to the
                            Fourth Amendment’s warrant requirement is
                            grounded in the Government’s “inherent authority to
                            protect, and . . . paramount interest in protecting, its
                            territorial integrity.” Flores-Montano, 541 U.S. at 153;
                            see also United States v. Muench, 694 F.2d 28, 33 (2d
                            Cir. 1982) (“The right of the United States to conduct
                            border searches is based on its sovereign authority to
                            protect its territorial integrity.”). And an individual’s
                            privacy expectation is “less at the border than in the
                            interior.” Montoya de Hernandez, 473 U.S. at 539-40.
                            Thus, at the border, the “Fourth Amendment balance
                            between the interests of the Government and the pri-
                            vacy right of the individual” is flipped from what it is
                            during a search incident to arrest—it is “struck much
                            more favorably to the Government.” Id.
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                                As the Seventh Circuit observed in Mendez, “[w]hat
                            is unreasonable after arrest may be perfectly reasona-
                            ble at customs.” Mendez, 103 F.4th at 1308. Indeed,
                            Riley itself limited its holding to the searches incident
                            to arrest, acknowledging that “other case-specific ex-
                            ceptions may still justify a warrantless search of a par-
                            ticular phone.” Riley, 573 U.S. at 401-02. Border
                            searches, with the Government’s “paramount interest
                            in protecting[ ] its territorial integrity,” are just such
                            an exception. Flores-Montano, 541 U.S. at 153; see also
                            Alasaad, 988 F.3d at 17 (“[G]iven the volume of trav-
                            elers passing through our nation’s borders, warrant-
                            less electronic device searches are essential to the bor-
                            der search exception’s purpose of ensuring that the ex-
                            ecutive branch can adequately protect the border.”).
                            Thus, Riley did not upend the longstanding, well-set-
                            tled precedent that a warrant is not required to con-
                            duct a border search, even of a cellphone.
                                In support of his argument that a warrant was re-
                            quired to search his phones, Alisigwe points to three
                            district court cases—United States v. Smith, 673 F.
                            Supp. 3d 381 (S.D.N.Y. 2023); United States v. Sul-
                            tanov, No. 22 Cr. 149 (NRM), 2024 WL 3520443
                            (E.D.N.Y. July 24, 2024); and United States v. Fox, No.
                            23 Cr. 227 (NGG), 2024 WL 3520767 (E.D.N.Y. July
                            24, 2024). (See Br. 37-39). These non-binding cases are
                            distinguishable and inconsistent with the clear weight
                            of authority.
                               Fox, for example, is entirely inapposite because it
                            was expressly limited to its unique facts. See 2024 WL
                            350767, at *9-12. In Fox, in contrast to here, the law
                            enforcement agent “became interested in seizing the
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                            phone in the month prior to [the defendant’s] trip
                            while she was located in the United States; the search
                            was conducted over one thousand miles from where
                            [the defendant] entered the country; the phone was not
                            searched until days later”; “the interest in the phone
                            derived from a domestic crime without a transnational
                            connection and which was unrelated to CBP’s enforce-
                            ment of border laws”; “there [was] no indication that
                            [the defendant] engaged in illegal activities abroad or
                            during her travels”; and “there [was] no indication the
                            search was prompted by an interest in excluding un-
                            wanted persons from the country.” Id. at *9. Under
                            those specific facts, Judge Nicholas G. Garaufis con-
                            cluded that the search at issue fell outside the border-
                            search exception. Id. at *12. Judge Garaufis made
                            clear, however, that he was not “attempt[ing] to estab-
                            lish a framework for when manual searches of cell
                            phones seized at the border are reasonable, as other
                            courts have done.” Id. “In a case with different facts,”
                            Judge Garaufis explained, he may find a warrantless
                            border search to be reasonable. Id.
                                In Smith, border agents stopped the defendant at
                            Newark Airport as he attempted to travel from New-
                            ark to Jamaica, seized his phone, and made and then
                            reviewed a forensic copy of data stored on his phone.
                            See Smith, 673 F. Supp. 3d at 387-88. The border
                            search was conducted in connection with law enforce-
                            ment’s investigation into the defendant’s role in a
                            purely domestic crime: conspiring to control the New
                            York-area emergency mitigation services industry. Id.
                            at 387. The defendant moved to suppress the results of
                            the border search on Fourth Amendment grounds. Id.
                            at 389. Judge Jed S. Rakoff denied the motion based
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                            on the good-faith exception, but concluded that, in
                            light of Riley, “the Government may not copy and
                            search an American citizen’s cell phone at the border
                            without a warrant absent exigent circumstances.” Id.
                            at 394. In balancing the Fourth Amendment interests
                            at stake, Judge Rakoff dismissed the Government’s in-
                            terest in searching digital data at the border as “rela-
                            tively weak,” because digital contraband or other data
                            can be transmitted into the country without being con-
                            tained on a physical device brought across the border.
                            Id. at 395. Citing Riley, Judge Rakoff further observed
                            that a “cell phone likely contains huge quantities of
                            highly sensitive information,” and concluded that the
                            privacy interests in a traveler’s cellphone were “much
                            stronger than [the] privacy interests in [their] bag-
                            gage.” Id. at 395-96. Judge Rakoff acknowledged that
                            his “preferred rule”—that warrants are required for
                            phone searches at the border—was contrary to the con-
                            clusions reached by every Court of Appeals that had
                            considered the issue. Id. at 398 (noting that his posi-
                            tion is “more protective than the approach of any cir-
                            cuit court to consider the question”); id. at 396 (recog-
                            nizing that “of the five federal courts of appeals to con-
                            sider the question, none has gone quite this far”).
                               Sultanov relied heavily on the reasoning in Smith.
                            See 2024 WL 3520443, at *16, 18, 22, 23, 28. In Sul-
                            tanov, Judge Nina R. Morrison reasoned that “search-
                            ing cell phone data does little to promote the specific
                            governmental interests that the border search excep-
                            tion was designed to protect,” and “represent[s] an ex-
                            traordinary invasion of a traveler’s privacy.” Id. at *19.
                            Accordingly, Judge Morrison held, “a search of a cell
                            phone at the border generally requires probable cause
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                            and a warrant to be reasonable under the Fourth
                            Amendment.” Id. at *22. Judge Morrison admitted
                            that none of the circuit courts to address this issue had
                            “go[ne] this far.” Id. at *23.
                               Consistent with this admission, the district court
                            decisions cited by Alisigwe are contrary to the weight
                            of authority. In contrast to the cases decided by the
                            Courts of Appeals, these district court decisions im-
                            properly balance the Fourth Amendment interests at
                            stake at the border. The narrow view of the border
                            search exception expressed in these decisions “fails to
                            appreciate the full range of justifications for the border
                            search exception.” Alasaad, 988 F.3d at 21. Indeed, the
                            Government’s interest in searching cellphones at the
                            border is exceptional, not weak. As the Fourth Circuit
                            observed in United States v. Nkongho, 107 F.4th 373
                            (4th Cir. 2024)—a case involving, as here, a border
                            search of a cellphone in connection with an interna-
                            tional fraud scheme—cellphone searches at the border
                            are “critical for preventing cross-border crime and the
                            importation of contraband,” including “evidence of on-
                            going transnational criminal activity . . . such as com-
                            munications between conspirators.” Id. at 381; see also
                            Alasaad, 988 F.3d at 19 (“[T]he government’s interest
                            in preventing crime at international borders ‘is at its
                            zenith,’ . . . and it follows that a search for evidence of
                            either contraband or a cross-border crime furthers the
                            purposes of the border search exception to the warrant
                            requirement.”).
                               The Smith court was also wrong to conclude that
                            “the magnitude of the privacy invasion caused by” bor-
                            der searches of cellphones “dwarfs that historically
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                                                      23


                            posed by border searches.” Smith, 673 F. Supp. 3d at
                            394. This Court has already affirmed warrantless bor-
                            der searches in highly intrusive contexts, such as strip
                            searches and body-cavity searches. See Irving, 452
                            F.3d at 123-24 (“[M]ore invasive searches, like strip
                            searches, require reasonable suspicion.”); United
                            States v. Ogberaha, 771 F.2d 655, 658 (2d Cir. 1985)
                            (requiring reasonable suspicion for body cavity
                            search); Asbury, 586 F.2d at 976 (requiring reasonable
                            suspicion for strip search); see also Montoya de Her-
                            nandez, 473 U.S. at 541-42 (requiring reasonable sus-
                            picion for detention of traveler overnight for purpose
                            of monitored bowel movement). 3 A faithful application
                            of Supreme Court and Second Circuit precedent re-
                            garding border searches thus compels the conclusion
                            that, notwithstanding a traveler’s significant privacy
                            interest in their cellphones, warrantless searches of
                            cellphones at the border are permitted to advance the
                            Government’s paramount interest in protecting its ter-
                            ritorial integrity.

                                   b.    Reasonable Suspicion Was Not
                                         Required to Search Alisigwe’s
                                         Phones
                               The balancing of Fourth Amendment interests at
                            the border further supports the conclusion, reached by

                            —————
                               3  As discussed below, reasonable suspicion was
                            not required to conduct a manual search of Alisigwe’s
                            phones. But even if this Court concludes that it was,
                            law enforcement had reasonable suspicion to support
                            the search.
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                            numerous Courts of Appeals, that the type of manual
                            cellphone search conducted here is a “routine” border
                            search that does not require individualized suspicion.
                            See Alasaad, 988 F.3d at 17 (1st Cir. 2021); Castillo,
                            70 F.4th at 897–98 (5th Cir. 2023); Mendez, 103 F.4th
                            at 1307 (7th Cir. 2024); Cano, 934 F.3d at 1016 (9th
                            Cir. 2019); Touset, 890 F.3d at 1233 (11th Cir. 2018);
                            see also Sultanov, 2024 WL 3520443, at *21 (“[N]one
                            of the Courts of Appeals to consider this . . . area of law
                            has held that a manual search of a cell phone at the
                            border is a nonroutine search.”). The privacy interest
                            of an international traveler is “tempered by the fact
                            that the searches are taking place at the border.”
                            Alasaad, 988 F.3d at 18. And manual electronic
                            searches are “brief procedure[s]” of limited intrusive-
                            ness. Flores-Montano, 541 U.S. at 155. During a man-
                            ual search, as opposed to a full forensic examination, a
                            law enforcement agent “cannot download and peruse
                            the phone’s entire contents”; instead, “they must phys-
                            ically scroll through the device, making it less likely
                            for an agent to tap into the revealing nooks and cran-
                            nies of the phone’s metadata, encrypted files, or de-
                            leted contents.” Mendez, 103 F.4th at 1310; see also
                            Alasaad, 988 F.3d at 18 (“Basic border searches also
                            require an officer to manually traverse the contents of
                            the traveler’s electronic device, limiting in practice the
                            quantity of information available during a basic
                            search.”).
                               That is precisely what happened here. Law enforce-
                            ment did not obtain a full extraction of Alisigwe’s
                            phone. Rather, on both occasions that Alisigwe was
                            stopped at the border, Special Agent Tallio manually
                            reviewed Alisigwe’s cellphone by scrolling through it
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                            for a brief period of time, recording the phone’s con-
                            tents only by taking pictures with his own phone.
                            (A. 264; 273-75). Given its limited intrusiveness and
                            travelers’ reduced privacy interests at the border, this
                            Court should conclude, as have the First, Fifth, Sev-
                            enth, Ninth, and Eleventh Circuits, that a manual cell-
                            phone search is a routine border search that need not
                            be supported by reasonable suspicion.

                                   c.     Reasonable Suspicion Supported the
                                          Searches of Alisigwe’s Phones
                               Even if the Court were to depart from the prevail-
                            ing consensus among the Courts of Appeals and con-
                            clude that a manual cellphone search is a non-routine
                            border search, law enforcement had reasonable suspi-
                            cion to justify the searches of Alisigwe’s phones.
                               The reasonable suspicion standard requires only “a
                            particularized and objective basis for suspecting the
                            particular person stopped of criminal activity.” Levy,
                            803 F.3d at 123. At the time Alisigwe was stopped at
                            JFK Airport on February 7, 2019, HSI had opened an
                            investigation into his use of a false identity based on a
                            referral from the U.K. Border Force, which had inter-
                            cepted a fraudulent passport bearing Alisigwe’s photo-
                            graph. (A. 47). During the February 7, 2019 interview,
                            Alisigwe acknowledged that the photograph from the
                            fraudulent Heintz passport looked like him, yet denied
                            using other passports or names. (A. 48). By the time of
                            the March 1, 2021 border stop, HSI’s investigation re-
                            mained ongoing and was further bolstered by, among
                            other things, the evidence of the personal identifying
                            information found in Alisigwe’s phone during the 2019
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                            border stop (A. 50-51) and the seizure of multiple ad-
                            ditional fraudulent passports and driver’s licenses
                            bearing Alisigwe’s photograph but the names of other
                            people (A. 279-80). As Judge Caproni correctly noted,
                            the information possessed by the Government thus
                            satisfied the “relatively modest” burden of reasonable
                            suspicion. (A. 238).
                                Alisigwe does not contend otherwise. Instead, he
                            relies on cases from the Ninth and Fourth Circuits for
                            the proposition that the border search authority is lim-
                            ited to searches for contraband or evidence of border-
                            related crimes, and argues that the searches of his
                            phones fell outside that scope. (Br. 39-40). In Cano, the
                            Ninth Circuit held that the border search exception
                            authorizes warrantless searches of cellphones only to
                            determine if the phone contains contraband. See 34
                            F.3d at 1018. In United States v. Aigbekaen, 943 F.3d
                            713 (4th Cir. 2019), the Fourth Circuit held that for a
                            non-routine border search, the Government must have
                            individualized suspicion of an offense bearing “some
                            nexus to the border search exception’s purposes of pro-
                            tecting national security, collecting duties, blocking
                            the entry of unwanted persons, or disrupting efforts to
                            export or import contraband.” Id. at 721. But neither
                            holding is the law in this Circuit. In Levy, this Court
                            held that agents conducting a border search “have the
                            authority to search and review a traveler’s documents
                            and other items at the border when they reasonably
                            believe that a traveler is engaged in criminal activity,
                            even if the crime falls outside the primary scope of their
                            official duties.” 803 F.3d at 124 (emphasis added).
                            Thus, notwithstanding the fact that border agents fo-
                            cus “primarily on contraband, dutiable merchandise,
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                            immigration fraud, and terrorism,” they are “neither
                            expected nor required to ignore tangible or documen-
                            tary evidence of a federal crime.” Id.
                                Moreover, searches of cellphones at the border not
                            only further the Government’s interest in preventing
                            entry of contraband, but also support the other border-
                            related purposes of the border search exception, in-
                            cluding national security concerns, unlawful immigra-
                            tion, and transnational crime. Cano’s contrary conclu-
                            sion is at odds with this Court’s controlling precedent
                            in Levy, which rejects the proposition that border
                            searches are limited to detecting contraband. Levy,
                            803 F.3d at 124; see also United States v. Gavino, No.
                            22 Cr. 136 (RPK), 2024 WL 85072, at *6 (E.D.N.Y. Jan.
                            7, 2024) (finding Cano unpersuasive in light of control-
                            ling precedent in Levy); United States v. Tineo, No. 23
                            Cr. 223 (DLI), 2024 WL 2862289, at *6 (E.D.N.Y. June
                            6, 2024) (“The Cano court apparently did not consider
                            the urgency of curtailing ongoing crimes, such as, for
                            example, international narcotics importation and dis-
                            tribution conspiracies with coconspirators within the
                            United States[.]”).
                                In any event, Alisigwe is wrong to suggest that the
                            investigation into him lacked a nexus to the purposes
                            of the border search exception. Alisigwe repeatedly re-
                            fers to Special Agent Tallio as a generic “fraud investi-
                            gator” who was not investigating crimes related to the
                            border. (Br. 1, 5, 30, 31, 36, 43). This characterization
                            ignores that Special Agent Tallio is an agent of HSI—
                            a component of DHS specifically focused on investigat-
                            ing “transnational crime and violations of the customs
                            and immigration laws of the United States.”
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                            Homeland Security Investigations, “What We Investi-
                            gate,” available at https://www.dhs.gov/hsi/investi-
                            gate (last accessed November 13, 2024). Indeed, as
                            Special Agent Tallio testified, as a member of HSI’s
                            New York Document and Benefits Fraud Task Force,
                            he is specifically responsible for investigating, among
                            other crimes, “immigration fraud.” (A. 249). Alisigwe’s
                            characterization further ignores that HSI’s investiga-
                            tion was specifically focused on the use of a fraudulent
                            passport by Alisigwe, who at the time was a legal per-
                            manent resident with a pending citizenship applica-
                            tion. (A. 47). Law enforcement’s investigation into
                            Alisigwe and the border searches of his phone were
                            therefore directly tied to the core rationale of the bor-
                            der search exception—the Government’s paramount
                            interest in protecting its territorial integrity. See Flo-
                            res-Montano, 541 U.S. at 153; Muench, 694 F.2d at 33. 4
                                For similar reasons, Alisigwe’s reliance on the dis-
                            trict court’s reasoning in Fox is misplaced. The Fox
                            court held that a purported border search of a trav-
                            eler’s cellphone was not, in fact, a border search, where

                            —————
                                4   Likewise, even accepting Cano’s conclusion that
                            the border search exception is limited to evidence of
                            contraband, the searches of Alisigwe’s phones did, in
                            fact, yield contraband. Alisigwe’s phones contained the
                            names, birthdates, social security numbers, and ad-
                            dresses of innocent victims. See, e.g., United States v.
                            Jackson, 618 F. App’x 472, 478 (11th Cir. 2015) (de-
                            scribing personal identifying information of others as
                            “contraband”); United States v. Hayes, 209 F. App’x
                            548, 551 (7th Cir. 2006) (same).
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                            the search was conducted days after and over a thou-
                            sand miles away from where it was seized at the Mi-
                            ami airport, and law enforcement’s investigation re-
                            lated to a “domestic crime without a transnational con-
                            nection.” 2024 WL 3520767 at *9. Not so here. There
                            is no dispute that during each of the border searches,
                            Special Agent Tallio conducted a brief manual search
                            of Alisigwe’s phones at JFK Airport immediately after
                            Alisigwe’s arrival in the country. (A. 47-48, 50-51).
                            And unlike in Fox, the investigation into Alisigwe did
                            not relate to a purely domestic crime. Again, the inves-
                            tigation was initially opened after the U.K. Border
                            Force intercepted a fraudulent passport bearing
                            Alisigwe’s photograph. (A. 47). And the investigation
                            ultimately revealed that Alisigwe played a critical role
                            in a wide-ranging international fraud and money-
                            laundering scheme, in which he used fraudulent pass-
                            ports and identity documents (over twenty of which
                            were seized from international mail) to open U.S. bank
                            accounts in the names of other people and then wire
                            fraud proceeds to co-conspirators abroad. (PSR ¶¶ 12,
                            14; A. 276-80; Tr. 233). The transnational nexus that
                            Fox lacked is plainly present here. Indeed, Judge
                            Garaufis’s decision in Fox specifically distinguished
                            the facts in Fox from those here, observing that “in
                            Alisigwe, the defendant was searched because he was
                            suspected of using fraudulent passports—relating to
                            the Government’s interest in border integrity and
                            knowing who is entering the country.” Fox, 2024 WL
                            3520767, at *8.
                               Because law enforcement had reasonable suspicion
                            that evidence of an offense threatening U.S. territorial
                            integrity would be found on Alisigwe’s phones, the
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                            border searches of those phones fell well within the
                            scope of the border search authority and did not violate
                            the Fourth Amendment. 5

                              2. The Good-Faith Exception Applies
                               Even if the Court were to conclude that the manual
                            reviews of Alisigwe’s cellphones were unlawful, the
                            Court should apply the good-faith exception to the ex-
                            clusionary rule.
                               Neither the Supreme Court nor this Court has ever
                            held that warrantless border searches of cellphones
                            —————
                               5   The brief of amici curiae raises the additional
                            constitutional argument that the border searches of
                            Alisigwe’s phones violated the First Amendment.
                            (Amici Br. 18-23). This argument is not properly be-
                            fore the Court, as it was not raised by Alisigwe. See
                            Bano v. Union Carbide Corp., 273 F.3d 120, 128 n.5
                            (2d Cir. 2001) (amici cannot raise issues on appeal not
                            presented by the parties); 16AA Wright, Miller &
                            Cooper, Federal Practice and Procedure: Jurisdiction
                            § 3975.1 (5th ed. Jun. 2024 Update) (“In ordinary cir-
                            cumstances, an amicus will not be permitted to raise
                            issues not argued by the parties.”). Even if this argu-
                            ment were before the Court, it lacks merit. See, e.g.,
                            Alasaad, 988 F.3d at 22 (holding that content-neutral
                            border searches, which “have a plainly legitimate
                            sweep and serve the government’s paramount inter-
                            ests in protecting the border,” do not violate the First
                            Amendment, and observing that the presence of ex-
                            pressive material on electronic devices does not trigger
                            a warrant requirement).
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                            are unconstitutional. Indeed, this Court’s decisions up-
                            holding the Government’s “broad plenary powers” to
                            conduct warrantless border searches strongly indicate
                            that border searches of cellphones are permissible.
                            See, e.g., Levy, 803 F.3d at 124 (warrantless search of
                            traveler’s notebook permissible); Irving, 452 F.3d at
                            123-24 (warrantless search of computer diskette per-
                            missible); Asbury, 586 F.2d at 977 (warrantless border
                            strip search of traveler permissible).
                                Moreover, at the time of the searches, multiple cir-
                            cuits had already held that a warrant is not required
                            for searches of cellphones at the border. See, e.g.,
                            Kolsuz, 890 F.3d at 142 (4th Cir. 2018) (rejecting argu-
                            ment that Riley required warrant based on probable
                            cause for border search of cellphone); Vergara, 884
                            F.3d at 1312-13 (11th Cir. 2018) (“Border searches
                            have long been excepted from warrant and probable
                            cause requirements, and the holding of Riley does not
                            change this rule.”); Touset, 890 F.3d at 1233 (11th Cir.
                            2018) (holding that even a forensic search of an elec-
                            tronic device at the border requires no individualized
                            suspicion); cf. Molina-Isidoro, 884 F.3d at 292 (observ-
                            ing that “it is telling that no post-Riley decision issued
                            either before or after this search has required a war-
                            rant for a border search of an electronic device”). Con-
                            sistent with the circuit cases upholding warrantless
                            searches of cellphones at the border, CBP guidance in
                            place at the time indicated that forensic searches of
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                            electronic devices could be conducted without a war-
                            rant based on reasonable suspicion. 6
                                The HSI agents conducting the warrantless border
                            searches of Alisigwe’s cellphones therefore had “an ob-
                            jectively reasonable good-faith belief that their con-
                            duct was lawful,” especially in light of their reasonable
                            suspicion that Alisigwe was engaged in transnational
                            criminal activity involving the use of fraudulent pass-
                            ports. Under these circumstances, the exclusionary
                            rule does not apply. Zodhiates, 901 F.3d at 143; see also
                            Aigbekaen, 943 F.3d at 725 (finding warrantless bor-
                            der search of cellphone unlawful but applying good-
                            faith exception because the HSI agents who conducted
                            the search “reasonably relied on an established and
                            uniform body of precedent allowing warrantless border
                            searches of digital devices”); see also United States v.
                            Wanjiku, 919 F.3d 472, 479 (7th Cir. 2019) (“[A]gents
                            acted in good faith when they searched the devices
                            with reasonable suspicion to believe that a crime was
                            being committed, at a time when no court had ever re-
                            quired more than reasonable suspicion for any search
                            at the border.”); Smith, 2023 WL 3358357, at *13 (ap-
                            plying good-faith exception to warrantless cellphone
                            search at the border); Sultanov, 2024 WL 3520443, at
                            *26-28 (same).


                            —————
                               6   See CBP Directive Regarding Border Searches
                            of Electronic Devices, available at https://
                            www.dhs.gov/sites/default/files/publications/
                            CBP%20Directive%203340-049A_Border-Search-of-
                            Electronic-Media.pdf. (last accessed Nov. 13, 2024).
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                                Accordingly, even if the Court were to conclude that
                            the border searches of Alisigwe’s phones were unlaw-
                            ful, it should affirm under the good-faith exception. Be-
                            cause the agents conducted the searches based on an
                            objectively reasonable good-faith belief that their con-
                            duct was lawful, “the harsh sanction of exclusion
                            should not be applied.” Davis v. United States, 564
                            U.S. 229, 241 (2011).

                                                   POINT II

                                The District Court Correctly Calculated the
                               Guidelines Using the Intended Loss Amount
                               Alisigwe next argues that Judge Caproni erred by
                            calculating his Guidelines range based on the intended
                            loss amount, rather than the actual loss amount.
                            (Br. 51-57). This argument is directly foreclosed by
                            this Court’s decision in United States v. Rainford, 110
                            F.4th 455 (2d Cir. 2024).

                            A. Relevant Facts
                               At sentencing, Alisigwe argued that the applicable
                            loss amount under the Guidelines should be calculated
                            based on actual loss, which he claimed was between
                            $400,000 and $600,000. (A. 405, 421-22). Judge
                            Caproni disagreed and applied the intended loss
                            amount of $4.5 million, triggering an 18-level increase
                            in the offense level pursuant to U.S.S.G.
                            § 2B1.1(b)(1)(J). (A. 422).

                            B. Applicable Law
                               Section 2B1.1 of the Guidelines provides that a de-
                            fendant’s offense level is based in part on the amount
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                            of “loss” involved in the offense. U.S.S.G. § 2B1.1(b)(1).
                            In the commentary to the November 1, 2023 Guide-
                            lines Manual, Application Note 3(A) defined loss as
                            “the greater of actual or intended loss.” U.S.S.G.
                            § 2B1.1 app. n.3(A) (2023). Application Note 3(A) fur-
                            ther explained that “intended loss” means “the pecuni-
                            ary harm that the defendant purposely sought to in-
                            flict,” and “includes intended pecuniary harm that
                            would have been impossible or unlikely to occur.”
                            U.S.S.G. § 2B1.1 app. n.3(A)(ii) (2023). 7
                               This Court reviews the “sentencing court’s inter-
                            pretation of the Sentencing Guidelines de novo, but re-
                            view[s] its related findings of fact only for clear error.”
                            United States v. Potes-Castillo, 638 F.3d 106, 108 (2d
                            Cir. 2011).

                            C.   Discussion
                               Alisigwe argues that Judge Caproni inappropri-
                            ately calculated his Guidelines based on the intended
                            (rather than actual) loss amount. (Br. 51-57). Accord-
                            ing to Alisigwe, the Supreme Court’s ruling in Kisor v.
                            Wilkie, 588 U.S. 558 (2019)—which “restricted judicial
                            deference to an agency’s interpretive rules . . . to those
                            —————
                               7  The United States Sentencing Commission sub-
                            sequently amended Section 2B1.1 by incorporating the
                            intended loss commentary into the Guidelines’ text.
                            See 89 Fed. Reg. 36,853, 36,855-36,857 (May 3, 2024);
                            United States v. Boler, 115 F.4th 316, 327 n.6 (4th Cir.
                            2024). That amendment took effect on November 1,
                            2024. See U.S.S.G. §§ 2B1.1(b)(1)(A), 2B1.1(b)(1)(C)
                            (2024).
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                            that interpret ‘genuinely ambiguous’ legislative rules”
                            —rendered Application Note 3(A) invalid. (Br. 52). 8
                                This argument is flatly contradicted by this Court’s
                            decision in Rainford. In Rainford, the Court held that
                            Application Note 3(A)’s definition of loss (as including
                            intended loss) controlled under Stinson v. United
                            States, 508 U.S. 36 (1993), in which the Supreme Court
                            held that “commentary in the Guidelines Manual that
                            interprets or explains a guideline is authoritative un-
                            less it violates the Constitution or a federal statute, or
                            is inconsistent with, or a plainly erroneous reading of,
                            that guideline.” Rainford, 110 F.4th at 475 (citing
                            Stinson, 508 U.S. at 38). Because Application Note
                            3(A)’s definition of loss is “neither inconsistent with
                            nor a plainly erroneous reading of the guideline,” this
                            Court held that it was authoritative. Id.
                                In reaching this holding, the Court explicitly re-
                            jected Alisigwe’s argument on appeal: that Kisor inva-
                            lided Application Note 3(A). See Rainford, 110 F.4th at
                            475 n.5. Following Kisor, the Court explained, “circuit
                            courts have disagreed as to whether the application
                            note defining ‘loss’ to include the intended loss should
                            continue to receive deference.” Id. This Court, how-
                            ever, held that it would “adhere to Stinson and defer
                            to the application note for two reasons.” Id. First, the
                            —————
                                8  Because Alisigwe was sentenced on April 8,
                            2024, the November 1, 2023 Guidelines Manual ap-
                            plied. See United States v. Pereira-Gomez, 903 F.3d
                            155, 160 n.6 (2d Cir. 2018) (“A sentencing court typi-
                            cally applies the Guidelines Manual in place at the
                            time of sentencing . . . .”).
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                            Court noted, “the Supreme Court has not overruled
                            Stinson,” which directly controls. Id. Second, the Court
                            continued, “the guidelines commentary would meet
                            the Kisor standard in any event.” Id. Specifically, the
                            Court concluded that “[b]ecause the Sentencing Com-
                            mission adopts the commentary alongside the guide-
                            lines, the commentary necessarily reflects the Com-
                            mission’s ‘authoritative, expertise-based, fair, or con-
                            sidered judgment.’ ” Id. (citing Kisor, 588 U.S. at 573).
                            “Indeed,” the Court explained, “the guidelines and the
                            commentary operate together as a reticulated whole
                            and accordingly the two are to be read together.” Id.
                                Rainford is controlling and directly forecloses
                            Alisigwe’s intended loss argument. See id.; see also,
                            e.g., United States v. Zheng, 113 F.4th 280, 299-300 (2d
                            Cir. 2024) (applying Rainford to reject argument that
                            district court improperly calculated Guidelines based
                            on intended loss); United States v. Smith, No. 22-3104,
                            2024 WL 4404046, at *3 (2d Cir. Oct. 4, 2024) (same).
                            Yet even though Rainford was issued before Alisigwe
                            filed his brief, Alisigwe does not address it in any way,
                            much less offer any basis for distinguishing it. Con-
                            sistent with this Court’s holding in Rainford, it should
                            reject Alisigwe’s challenge to Judge Caproni’s calcula-
                            tion of the Guidelines using the intended loss amount.

                                                   POINT III

                                  The District Court Properly Applied the
                                        Obstruction Enhancement
                               Finally, Alisigwe contends that Judge Caproni
                            erred by applying the obstruction-of-justice enhance-
                            ment to increase his Guidelines range. (Br. 58-63).
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                            This argument lacks merit. Judge Caproni correctly
                            determined that the obstruction enhancement was
                            warranted based on Alisigwe’s deliberate lies under
                            oath. And even assuming that Judge Caproni erred,
                            any error was harmless because—as she made clear—
                            she would have imposed the same sentence regardless
                            of whether the enhancement applied.

                            A. Relevant Facts

                              1. Evidentiary Hearing Regarding Duress
                                 Defense
                               Alisigwe first raised a potential duress defense at a
                            change of plea hearing on May 31, 2023. (A. 75-76).
                            During the change of plea hearing, Judge Caproni
                            asked Alisigwe whether any co-conspirators had
                            threatened him in any way to make him participate,
                            and Alisigwe responded in the affirmative. (A. 75-76).
                            Alisigwe then stated that those co-conspirators had
                            threatened his mother’s life. (A. 76). After Alisigwe
                            noted that he had not discussed a potential duress de-
                            fense with his attorney, Judge Caproni adjourned the
                            hearing to allow that discussion to occur. (A. 76).
                                Alisigwe subsequently indicated that he wished to
                            present a duress defense at trial, and Judge Caproni
                            held an evidentiary hearing on this issue. At the hear-
                            ing, Alisigwe testified that around 2015, he received a
                            call from “a total stranger” who said that he had a
                            “business” and wanted Alisigwe to help him with it.
                            (A. 109). When Alisigwe asked the stranger whether it
                            was a “car business,” the man said that it was a “dif-
                            ferent business,” that Alisigwe “shouldn’t worry,” and
                            that he would call Alisigwe back. (A. 109). Alisigwe
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                            testified that about six months later, the stranger
                            called him again and asked him to “open accounts.”
                            (A. 111). Alisigwe refused and asked the stranger for
                            his name, and the stranger responded: “I’m from the
                            same place where you are from.” (A. 111).
                                Alisigwe testified that, after this occurred, the
                            stranger continued to ask Alisigwe to open accounts
                            for him and sent Alisigwe pictures of Alisigwe’s mother
                            by text message. (A. 113). At one point, Alisigwe
                            claimed, the stranger told him: “[Just] listen to me,
                            and do as I say, and nobody will get hurt. . . . [A]fter
                            your mom, we will come after your family.” (A. 113).
                            When Alisigwe asked what the stranger wanted from
                            him, the stranger purportedly said: “just open the ac-
                            count, then I will tell you what to do.” (A. 113).
                            Alisigwe later received a passport in another person’s
                            name by mail and was told to use it to open an account.
                            (A. 115-16).
                               According to Alisigwe, he continued for years to
                            open accounts for these individuals using fake pass-
                            ports and identification documents because each time
                            he told them he was done, they “would start threaten-
                            ing [him] with [his] mother.” (A. 119). He also testified
                            that while he engaged in these activities at their be-
                            hest for a number of years, he never learned their
                            names. (A. 119-20, 129).
                               Alisigwe claimed that he communicated with the
                            strangers by phone, but that he could not remember
                            their phone numbers because they kept telling him to
                            throw away his old phone and get a new one. (A. 129-
                            31). He stated that he provided the phone numbers of
                            his new phones to a man that he met in person in the
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                            United States, who collected the money from him.
                            (A. 136). Alisigwe said that he did not know this man’s
                            name but that the man would “call [Alisigwe] on the
                            phone and say ‘hey, I’m coming.’ ” (A. 136-37). Alisigwe
                            later claimed, however, that it was the people in Nige-
                            ria who would call him and tell him when someone was
                            coming to collect the money. (A. 137). Alisigwe testi-
                            fied that the same man would come each time and that
                            their meetings would usually occur at a park in
                            Queens. (A. 137). He explained that, during the first
                            meeting, he knew who to give the money to because
                            the man said, “I’m from your friends.” (A. 138). The
                            first time that Alisigwe gave this man money, he
                            stated, he handed the man $17,000 in cash. (A. 138).
                               Alisigwe further testified that he never contacted
                            police about the threats because he believed that the
                            Nigerian police would not do anything about it and
                            that, if he went to U.S. authorities, the strangers
                            would kill his mother. (A. 116-19).
                                After the hearing, Judge Caproni issued a written
                            opinion holding that Alisigwe had failed to make a
                            prima facie showing of duress and that he was there-
                            fore precluded from raising a duress defense at trial.
                            (A. 177-85). Specifically, Judge Caproni concluded that
                            Alisigwe had “not proffered adequate evidence that he
                            lacked a reasonable opportunity to escape harm to his
                            family other than by engaging in illegal activity.”
                            (A. 183).

                              2. Sentencing
                               In its sentencing submission, the Government ar-
                            gued that a two-point obstruction enhancement
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                            applied based on Alisigwe’s plainly implausible testi-
                            mony at the duress hearing, as well as Alisigwe’s sub-
                            mission of a false declaration in support of a pretrial
                            motion to suppress passports seized at the time of his
                            arrest. (Dkt. 130 at 3-4). Alisigwe argued that any such
                            enhancement would be improper. (A. 406-08, 423-26).
                                At sentencing, Judge Caproni concluded that, even
                            putting aside the suppression affidavit, the obstruc-
                            tion enhancement applied based on Alisigwe’s testi-
                            mony at the duress hearing. (A. 429). In reaching this
                            conclusion, Judge Caproni described Alisigwe’s testi-
                            mony as “preposterous,” noting that “the whole story
                            does not hang together as something that happens.”
                            (A. 416). Judge Caproni continued: “[That] total
                            strangers called and he had no idea who they were,
                            never found out who he was. The other person that he
                            was working with, he had no idea what that person’s
                            name is. They would randomly meet in Flushing
                            Meadow Park and hand off cash between them. The
                            story was preposterous.” (A. 426).
                                Judge Caproni made clear that while there may
                            have been “some germ of truth” to the claim that “at
                            some point along the way” “someone threatened him,”
                            “[t]hat is not the story he told.” (A. 427). Instead, she
                            explained, “the story he told was far different from
                            that and was, with all due respect, preposterous.”
                            (A. 427). Judge Caproni then reiterated the point, not-
                            ing, “Whatever germ of truth there was in that testi-
                            mony got lost in just out-of-mouth fiction, and it was
                            told precisely to obstruct these proceedings.” (A. 429-
                            30).
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                                After concluding that the obstruction enhancement
                            applied, Judge Caproni made clear that the resolution
                            of this issue had no impact on Alisigwe’s sentence.
                            (A. 430). Judge Caproni explicitly stated that she
                            “would impose the same sentence in this case regard-
                            less of whether” the obstruction enhancement applied.
                            (A. 430).

                            B. Applicable Law
                               Under Section 3C1.1 of the Guidelines, two levels
                            are added to the offense level:
                                  If (1) the defendant willfully obstructed
                                  or impeded, or attempted to obstruct or
                                  impede, the administration of justice
                                  with respect to the investigation, prose-
                                  cution, or sentencing of the instant of-
                                  fense of conviction, and (2) the obstruc-
                                  tive conduct related to . . . the defendant’s
                                  offense of conviction and any relevant
                                  conduct . . . .
                            U.S.S.G. § 3C1.1. The enhancement can be applied to
                            perjured testimony, as long as the district court finds
                            that “the defendant 1) willfully 2) and materially
                            3) committed perjury, which is (a) the intentional
                            (b) giving of false testimony (c) as to a material mat-
                            ter.” United States v. Zagari, 111 F.3d 307, 329 (2d Cir.
                            1997). Once a court determines that a defendant has
                            committed perjury at trial or at a hearing, “an en-
                            hancement of sentence is required by the Sentencing
                            Guidelines.” United States v. Dunnigan, 507 U.S. 87,
                            98 (1993) (emphasis added).
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                                When a sentencing court imposes an obstruction
                            enhancement, separate findings of fact are not re-
                            quired, as long as the sentencing court makes “a gen-
                            eral finding of obstruction that tracks those factual
                            predicates necessary to support a finding of perjury.”
                            United States v. Shonubi, 998 F.2d 84, 88 (2d Cir.
                            1993). A court, however, is not required to render its
                            obstruction of justice findings using any particular
                            language or “magic words.” United States v. Dundon,
                            349 F. App’x 588, 590 (2d Cir. 2009) (“Although the
                            District Court did not use the words ‘willfull,’ ‘will-
                            fully,’ or ‘willfullness’ at the sentencing hearing, we do
                            not read our precedent to require the use of magic
                            words at sentencing.”); see United States v. Cavera,
                            550 F.3d 180, 193 (2d Cir. 2008) (en banc) (“Sentencing
                            is a responsibility heavy enough without our adding
                            formulaic or ritualized burdens.”).
                                On appeal, “[o]bstruction of justice enhancements
                            are subject to a mixed standard of review.” United
                            States v. Ayers, 416 F.3d 131, 133 (2d Cir. 2005) (per
                            curiam). A district court’s findings of fact—including
                            its credibility determinations and determinations of
                            the defendant’s intent—are reviewed for clear error.
                            Id.; see United States v. Livoti, 196 F.3d 322, 327 (2d
                            Cir. 1999). “However, [a] ruling that the established
                            facts constitute obstruction or attempted obstruction
                            under the Guidelines . . . is a matter of legal interpre-
                            tation and is to be reviewed de novo, giving due defer-
                            ence to the district court’s application of the guidelines
                            to the facts.” United States v. Bliss, 430 F.3d 640, 646
                            (2d Cir. 2005).
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                                Even where this Court identifies a procedural error
                            in a sentence, including an error in calculating the ap-
                            plicable Guidelines, if “the record indicates clearly
                            that the district court would have imposed the same
                            sentence in any event, the error may be deemed harm-
                            less, avoiding the need to vacate the sentence and to
                            remand the case for resentencing.” United States v.
                            Cramer, 777 F.3d 597, 601 (2d Cir. 2015) (citing United
                            States v. Jass, 569 F.3d 47, 68 (2d Cir. 2009)); see
                            United States v. Shuster, 331 F.3d 294, 296 (2d Cir.
                            2003) (“[G]uideline disputes that would not have af-
                            fected the ultimate sentence need not be adjudicated
                            on appeal.”).

                            C.    Discussion

                                 1. There Was No Error in the District Court’s
                                    Application of the Obstruction
                                    Enhancement
                                Judge Caproni correctly applied the obstruction en-
                            hancement based on Alisigwe’s deliberate, material
                            lies under oath. Alisigwe’s perjury related to one of the
                            key issues at the duress hearing: whether he partici-
                            pated in the activities charged in the Indictment due
                            to threats. As Judge Caproni concluded, Alisigwe’s tes-
                            timony that strangers threatened him and forced him
                            to participate in illegal activities for years was “pre-
                            posterous.” (A. 416). While these lies were ultimately
                            unsuccessful in convincing Judge Caproni that
                            Alisigwe had a valid duress defense, they went to the
                            heart of the duress hearing and were plainly material.
                            See United States v. Gershman, 31 F.4th 80, 103-04 (2d
                            Cir. 2022) (noting that the “threshold for materiality is
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                            conspicuously low” and that the defendant’s conduct
                            need only have the “potential” to impede the proceed-
                            ings); see also U.S.S.G. § 3C1.1, app. n.6 (defining
                            “ ‘[m]aterial’ evidence, fact, statement, or information”
                            as “evidence, fact, statement, or information that, if
                            believed, would tend to influence or affect the issue un-
                            der determination”). As Judge Caproni found,
                            Alisigwe’s perjury was also willful: he intentionally
                            told a story full of lies to try to get away with his crimes
                            by claiming he had committed them under duress.
                            (A. 429-30). Judge Caproni’s findings—made based on
                            her firsthand observations of Alisigwe’s testimony—
                            are entitled to “special deference,” United States v.
                            Beverly, 5 F.3d 633, 642 (2d Cir. 1993), and amply sup-
                            port the application of the obstruction-of-justice en-
                            hancement.
                                Alisigwe wrongly claims that Judge Caproni made
                            no “specific findings as to what, precisely, was false in
                            [his] story.” (Br. 60). In fact, however, Judge Caproni
                            specifically concluded that “the whole story” Alisigwe
                            told at the duress hearing was “preposterous.”
                            (A. 416). Judge Caproni also gave examples of the type
                            of testimony she found preposterous at the hearing, in-
                            cluding “[that] total strangers called and he had no
                            idea who they were,” that he did not know the name of
                            “the other person that he was working with,” and that
                            he and this other person “would randomly meet in
                            Flushing Meadow Park and hand off cash between
                            them.” (A. 426).
                               Alisigwe also disputes Judge Caproni’s credibility
                            findings, claiming that his testimony was not “inher-
                            ently incredible.” (Br. 59; see Br. 58-59, 61). But
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                            Alisigwe offers no sound reason for this Court to sec-
                            ond-guess Judge Caproni’s findings. “Where there are
                            two permissible views of the evidence, the factfinder’s
                            choice between them cannot be clearly erroneous.”
                            United States v. Chalarca, 95 F.3d 239, 244 (2d Cir.
                            1996). In particular, because “assessing the credibility
                            of witnesses is distinctly the province of the district
                            court,” this Court should defer to a district court’s fac-
                            tual findings based on the testimony of witnesses. Bev-
                            erly, 5 F.3d at 642; accord United States v. Hendrick-
                            son, 26 F. 3d 321, 339 (2d Cir. 1994). Accordingly,
                            while Alisigwe may disagree with Judge Caproni’s
                            view that he was lying about his interactions with pur-
                            ported strangers for years, her credibility determina-
                            tion was not clearly erroneous.
                                Moreover, contrary to Alisigwe’s claims (Br. 61-62),
                            Judge Caproni did not fail to make specific findings
                            that Alisigwe’s perjury was willful and material.
                            Judge Caproni found that Alisigwe’s testimony at the
                            duress hearing was “out-of-mouth fiction . . . told pre-
                            cisely to obstruct these proceedings.” (A. 430; see also
                            A. 426-27). She contrasted this testimony with
                            Alisigwe’s false suppression affidavit, which she found
                            could have resulted from “a failure of recollection.”
                            (A. 429). By concluding that Alisigwe lied in the duress
                            hearing for the purpose of obstructing the proceedings
                            —and not due to any “failure of recollection”—Judge
                            Caproni necessarily found that the false testimony
                            was willful and not the result of “confusion, mistake,
                            or faulty memory.” U.S.S.G. § 3C1.1, app. n.2. That
                            willfulness finding was sufficient. See Dundon, 349 F.
                            App’x at 590 (affirming the application of the obstruc-
                            tion enhancement and explaining: “[a]lthough the
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                            District Court did not use the words ‘willfull,’ ‘will-
                            fully,’ or ‘willfullness’ at the sentencing hearing, we do
                            not read our precedent to require the use of magic
                            words at sentencing”); see also United States v. Abreu,
                            514 F. App’x 13, 16 (2d Cir. 2013) (holding that district
                            court found willfulness for purposes of obstruction en-
                            hancement “despite not using the specific word”).
                                Likewise, while Judge Caproni did not use the spe-
                            cific word “material,” she found that Alisigwe’s testi-
                            mony presented an account of the facts that was in-
                            tended to “obstruct these proceedings” by falsely prof-
                            fering that he had acted under duress. (A. 430; see also
                            Br. 426-27). That materiality finding was sufficient,
                            particularly because the whole point of Alisigwe testi-
                            fying at the hearing was to present a story that, if be-
                            lieved, would have “tend[ed] to influence or affect”
                            whether he could present a duress defense. U.S.S.G.
                            § 3C1.1, app. n.6; see United States v. Lincecum, 220
                            F.3d 77, 81 (2d Cir. 2000) (concluding that district
                            court’s materiality finding was sufficient because the
                            court, while “not using the specific word ‘material,’ ”
                            had noted that the affidavit in question presented an
                            account of the facts that, if true, would have led to the
                            suppression of evidence).

                               2. Any Purported Error Was Harmless
                               Even assuming that Judge Caproni erred in apply-
                            ing the obstruction enhancement (and she did not),
                            any error was harmless. After applying the enhance-
                            ment, Judge Caproni expressly stated that she would
                            “impose the same sentence in this case regardless” of
                            whether the enhancement applied. (A. 430). Because
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                            the obstruction enhancement did not affect the ulti-
                            mate sentence that Alisigwe received, any error in ap-
                            plying that enhancement was harmless. See Cramer,
                            777 F.3d at 601; Shuster, 331 F.3d at 296; see also Jass,
                            569 F.3d at 68 (finding Guidelines error to be harmless
                            where “district court unequivocally stated that it
                            would impose the same 65-year sentence” in any
                            event); United States v. Sanchez, 679 Fed. App’x 81, 84
                            (2d Cir. 2017) (“Even assuming Sanchez is correct, the
                            record reflects that the same sentence would have
                            been imposed anyway, such that the alleged error may
                            be deemed harmless.”); United States v. Delarosa, 675
                            F. App’x 91, 93 (2d Cir. 2017) (“At all times . . . the
                            District Court made plain that the Guidelines range
                            would not affect Delarosa’s sentence. . . . Even assum-
                            ing that the District Court committed procedural error
                            in its Guidelines calculation, it is clear from the record
                            that the Guidelines calculation did not affect the Dis-
                            trict Court’s ultimate imposition of sentence. Accord-
                            ingly, any error was harmless . . . .”); United States v.
                            Komar, 529 F. App’x 28, 29-30 (2d Cir. 2013) (“Even if
                            we were to conclude otherwise, however, Komar would
                            not be entitled to resentencing based on such Guide-
                            lines error because the district court made clear that
                            it would have imposed the same sentence even if the
                            applicable Guidelines range had been different.”).
                               Contrary to Alisigwe’s argument (Br. 62-63), this
                            Court’s decision in United States v. Feldman, 647 F.3d
                            450 (2d Cir. 2011) does not suggest otherwise. In Feld-
                            man, this Court concluded that it was “ambiguous
                            whether the claimed error affected the district court’s
                            sentence.” Id. at 459. Because “the sentencing tran-
                            script [left] doubt that the District Court would have
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                            imposed the same sentence absent” the challenged en-
                            hancements, this Court could not conclude that appli-
                            cation of the enhancement was harmless. Id. at 460.
                            Here, by contrast, Judge Caproni made an “explicit
                            and unambiguous declaration” that the obstruction en-
                            hancement “did not affect the ultimate sentence.” Id.
                            at 459. Feldman is thus inapposite here.

                                               CONCLUSION
                               The judgment of conviction should be affirmed.

                            Dated:    New York, New York
                                      November 13, 2024

                                                 Respectfully submitted,

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                                       CERTIFICATE OF COMPLIANCE
                               Pursuant to Federal Rule of Appellate Procedure
                            32(g), the undersigned counsel hereby certifies that
                            this brief complies with the type-volume limitation of
                            the Federal Rules of Appellate Procedure and this
                            Court’s Local Rules. As measured by the word pro-
                            cessing system used to prepare this brief, there are
                            11,514 words in this brief.

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